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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


                                                        )
UNITED STATES OF AMERICA,                               )
                                                        )
          v.                                            )        No. 21-cr-022 (KBJ)
                                                        )
CHRISTOPHER RAY GRIDER,                                 )
                                                        )
                   Defendant.                           )
                                                        )

         ORDER DENYING MOTION TO MODIFY CONDITIONS OF RELEASE

           Before the Court at present is Defendant Christopher Ray Grider’s Motion to

Modify the Conditions of his Release. (See Def.’s Mot. to Modify Conditions of

Release, ECF No. 28.) In his motion, Grider asserts that he “wishes to have more

flexibility in being able to take his children on trips away from his residence within his

permitted districts of travel[,]” and he asks the Court to “remove the condition requiring

location restriction/monitoring program with a GPS leg monitor and a curfew of 10:00

pm to 6:00 am[.]” (Id. ¶ 3.) Grider contends that his requested modification is

warranted because he has been compliant with his conditions of release to date, and

because the pretrial services officer in the Western District of Texas who is supervising

his release fully supports terminating his GPS monitoring and curfew requirements.

(See id. ¶¶ 1–3; see also Def.’s Reply in Supp. of Mot. to Modify Conditions of

Release, ECF No. 30, at 1–2.) 1 The Government opposes Grider’s motion, arguing that

Grider has not provided a sufficient reason to change the conditions of his release,

particularly in light of the “gravity” of the charges against him. (See Gov’t Opp’n to



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    Page number citations refer to the numbers automatically assigned by the Court’s electronic case filing system.
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Def.’s Mot. to Modify Conditions of Release, ECF No. 29, at 3–4.)

       This Court agrees with the Government. As the Court explained during the

detention appeal hearing in this case, the decision to release Grider pending trial was an

extremely “close call” given the nature and circumstances of the alleged offense and the

weight of the evidence against him. (See Mot. Hr’g Tr., ECF No. 20, at 48:12; 58:18–

59:17.) And although the Court ultimately determined that Grider’s detention was not

required, that decision was contingent upon the Court’s imposition of conditions of

release that would reasonably assure the safety of the community while Grider awaited

trial—conditions that included GPS monitoring and a curfew. (See id. at 63:13–66:7.)

The fact that Grider has been compliant with his conditions of release thus far is

insufficient to establish that such conditions are no longer necessary, and that is so

regardless of whether Grider’s pretrial supervision officer thinks otherwise.

       To the extent that Grider wishes to travel with his family on certain occasions, he

may seek the Court’s permission to travel to particular locations on specific dates, and

he has not provided any reason why his GPS monitoring and curfew conditions must be

terminated in order to accommodate such a request. The Court will assess any such

request on a case-by-case basis.

       For the reasons stated herein, it is hereby

       ORDERED that Grider’s Motion to Modify the Conditions of his Release (ECF

No. 28) is DENIED.



Date: May 19, 2021                               Ketanji Brown Jackson
                                                 KETANJI BROWN JACKSON
                                                 United States District Judge
